                                                                                            Exhibit 13


                                   PART OF STATES NEWSROOM
                                                                                        


  CIVIL RIGHTS & IMMIGRATION    POLITICS & GOVERNMENT


  Milwaukee’s DNC attracted wide array of
  activists and demonstrations
  BY: ISIAH HOLMES - AUGUST 24, 2020          7:00 AM

                                 




 Protesters, activists, and residents gather to march on the DNC in Milwaukee Wisconsin,
August 20th. (Photo by Isiah Holmes)



  Although the Democratic National Convention (DNC) became a
  scaled down event with mostly virtual presentations, groups of
  protesters nevertheless made their presence and causes known.

  During both the day and nighttime hours, activists and organizers
  from a wide range of groups held marches, rallies, and
  demonstrations, hoping to grab the attention of the Democratic
  Party. It all came to a head on the convention’s final day, Aug. 20,

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when hundreds of people from a variety of groups took part in the
March on the DNC.

The demonstrations took place despite the fact that presidential
candidate Joe Biden and his Vice President pick Kamila Harris
chose not to attend the convention in person. Many of the
protesters expressed their disillusionment with the Democratic
Party and its platform.

Ryan Hamann, chairman of the Coalition to March on the DNC,
criticized the nominee for not showing up. “When we learned that
Joe Biden decided to stay home rather than face COVID-19, or the
movement for Black lives in the City of Milwaukee, I’d be lying if I
said we weren’t at least a little disappointed. But we understood that
whether Biden and his ruling-class friends came to Milwaukee or
not, a number of key things about our situation remain the same.”




Signs were left in the Photo’s taken during Photo’s taken during
 night by Extinction the second day of the the second day of the
Rebellion and other      DNC. Extinction      DNC. Extinction
  groups. (Photo by Rebellion had chalked Rebellion had chalked
    Isiah Holmes)      the DNC grounds late the DNC grounds late
                          the prior night.     the prior night.
                        Wisconsin Examiner Wisconsin Examiner
                        would run into them would run into them
                        the following night. the following night.
                          (Photo by Isiah      (Photo by Isiah
                              Holmes)              Holmes)




Case 2:24-cv-00704-BHL Filed 06/05/24 Page 2 of 24 Document 3-5
 Photo’s taken during Signs were left in the Signs were left in the
the second day of the night by Extinction night by Extinction
  DNC. Extinction     Rebellion and other Rebellion and other
Rebellion had chalked groups. (Photo by        groups. (Photo by
the DNC grounds late     Isiah Holmes)           Isiah Holmes)
   the prior night.
 Wisconsin Examiner
 would run into them
 the following night.
   (Photo by Isiah
       Holmes)




Signs were left in the Signs were left in the Signs were left in the
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Rebellion and other Rebellion and other Rebellion and other
  groups. (Photo by      groups. (Photo by      groups. (Photo by
    Isiah Holmes)          Isiah Holmes)          Isiah Holmes)




Signs were left in the Signs were left in the Signs were left in the
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  groups. (Photo by      groups. (Photo by      groups. (Photo by
    Isiah Holmes)          Isiah Holmes)          Isiah Holmes)




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Signs were left in the Signs were left in the Photo’s taken during
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Rebellion and other Rebellion and other         DNC. Extinction
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    Isiah Holmes)          Isiah Holmes)      the DNC grounds late
                                                 the prior night.
                                               Wisconsin Examiner
                                               would run into them
                                               the following night.
                                                 (Photo by Isiah
                                                     Holmes)




 Photo’s taken during
the second day of the
  DNC. Extinction
Rebellion had chalked
the DNC grounds late
   the prior night.
 Wisconsin Examiner
 would run into them
 the following night.
   (Photo by Isiah
       Holmes)

Whether it’s poverty, the pandemic’s toll on working people or
systemic racism, organizers came to highlight the continued
struggles plaguing their communities. Many of the issues they
raised pre-date President Donald Trump’s administration. Calling
for an end to police violence became the demonstrators’ theme on
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the convention’s last night. Hundreds of people gathered at Red
Arrow Park to rally and listen to speakers, most of whom were
family members of people who died at the hands of police. Red
Arrow Park was the place where a Milwaukee officer killed Dontre
Hamilton, 31, in 2014. His mother, Maria Hamilton, was part of the
march on the DNC and joined the other families.

Mourning, catharsis, and truth
One by one, the loved ones of 17-year-old Alvin Cole, 25-year-old
Jay Anderson Jr., 25-year-old Joel Acevedo, 28-year-old Isaiah
Tucker, 31-year-old Dontre Hamilton, 26-year-old Jonathan Tubby,
and others spoke to the crowd. While some of the families have
spoken often and loudly about the controversy surrounding their
respective cases, for others, this was their first time speaking out
publicly.

Fathers, mothers, brothers, sisters and cousins, gave vent to tearful,
raw emotion. Shortly before the families had an opportunity to
speak, right-wing counter-protesters arrived and had a brief but
tense verbal exchange with rally-goers. Police on horseback arrived
and separated the two groups.

“We were created to love and help one another, not kill one
another,” José Acevedo, the father of Joel Acevedo, told the crowd.
“We’re not anti-police. We’re anti-killer-police that kills the
innocent people for no reason. Those are not the bad apples. They
call them bad apples. I call them crooked cops.”


        The father of Joel Acevedo speaks out




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Acevdeo was killed by off-duty Milwaukee Police Department
(MPD) officers during a house party held during and in violation of
the state’s Safer at Home order. Officer Michael Mattioli, 32, faces a
charge of first-degree reckless homicide for the death, and up to 40
years in prison, with another 20 years on supervision. Mattioli,
however, has not been fired from MPD. Acevedo’s death
contributed to months of protest in Milwaukee, which ultimately
resulted in the demotion of Chief Alfonso Morales to captain.
Michael Brunson, formerly the assistant chief of police, will hold
the seat until a new chief is appointed.

Cassandra Tucker, mother of Isaiah Tucker, also spoke during the
rally. Like the other family memberss, the still-grieving mother
choked back her emotions as she told her son’s story. The 28-year-
old was shot 11 times by an Oshkosh police officer, who claims
Tucker attempted to flee in a car. Wisconsin’s Department of Justice
(DOJ) investigated the shooting and cleared the officers of
wrongdoing.


        The story of Isaiah Tucker's killing




“I saw my son’s last breath,” said his mother, recounting the video
she’d been provided of the incident by authorities. “I know that
there has to be justice some way, somehow. It doesn’t matter if
you’re Black, white, green, yellow, it doesn’t matter! These are our
children! Our brothers, our sisters! … we can’t replace them. ”

Not all the speakers were family members of victims of police
violence. Numerous activists also spoke, including Chicago activist
Frank Chapman, an organizer with the Chicago Alliance Against
Racist and Political Repression. “I’ve been listening to these stories
for over 50 years, that’s about how long I’ve been in the movement.
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And the stories never change that much. People being murdered by
the cops. People being disrespected by the police. People being
brutalized by the police. People complaining about the police being
racist. People complaining about them being Ku Klux Klan. It’s
been the same story, believe me. For 50 years, I’m only 77.”




  The march on the  Fliers from various Proteters gather for
 DNC in Milwaukee, groups were hung all    the march on the
 August 20th, 2020. over the city. (Photo DNC during the last
   (Photo by Isiah   by Isiah Holmes) day of the convention.
      Holmes)                               (Photo by Isiah
                                               Holmes)




The families of people Protesters gather to Protesters gather to
who’ve lost loved ones listen to the families listen to the families
   to police violence. of people who’ve died of people who’ve died
   They included the due to police violence due to police violence
families of Alvin Cole, before the march on before the march on
 Jay Anderson Jr., Joel the DNC. (Photo by the DNC. (Photo by
     Acevedo, Isaiah       Isiah Holmes)          Isiah Holmes)
    Tucker, Jonathan
  Tubby, and others.
     (Photo by Isiah
        Holmes)




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 Protesters gather to Protesters gather to Protesters gather to
 listen to the families listen to the families listen to the families
of people who’ve died of people who’ve died of people who’ve died
due to police violence due to police violence due to police violence
 before the march on before the march on before the march on
 the DNC. (Photo by the DNC. (Photo by the DNC. (Photo by
     Isiah Holmes)          Isiah Holmes)          Isiah Holmes)




 Protesters gather to Protesters gather to Protesters gather to
 listen to the families listen to the families listen to the families
of people who’ve died of people who’ve died of people who’ve died
due to police violence due to police violence due to police violence
 before the march on before the march on before the march on
 the DNC. (Photo by the DNC. (Photo by the DNC. (Photo by
     Isiah Holmes)          Isiah Holmes)          Isiah Holmes)




 Protesters gather to Protesters gather to Protesters gather to
 listen to the families listen to the families listen to the families
of people who’ve died of people who’ve died of people who’ve died
due to police violence due to police violence due to police violence
 before the march on before the march on before the march on
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 8 of 24 Document 3-5
 the DNC. (Photo by    the DNC. (Photo by    the DNC. (Photo by
    Isiah Holmes)         Isiah Holmes)         Isiah Holmes)




 Protesters gather to     The family of           The family of
 listen to the families Jonathan Tubby          Jonathan Tubby
of people who’ve died speaks before the        speaks before the
due to police violence march on the DNC.      march on the DNC.
 before the march on     (Photo by Isiah         (Photo by Isiah
 the DNC. (Photo by         Holmes)                 Holmes)
     Isiah Holmes)




     The family of         The family of          The family of
   Jonathan Tubby        Jonathan Tubby         Jonathan Tubby
  speaks before the     speaks before the      speaks before the
 march on the DNC.     march on the DNC.      march on the DNC.
    (Photo by Isiah       (Photo by Isiah        (Photo by Isiah
       Holmes)               Holmes)                Holmes)




 Protesters gather to Protesters gather to          A group of
 listen to the families listen to the families anonymous protesters
of people who’ve died of people who’ve died conduct street theater.
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due to police violence due to police violence     (Photo by Isiah
 before the march on before the march on             Holmes)
 the DNC. (Photo by the DNC. (Photo by
    Isiah Holmes)          Isiah Holmes)




     A group of              A group of         The march on the
anonymous protesters anonymous protesters DNC in Milwaukee,
conduct street theater. conduct street theater. August 20th, 2020.
   (Photo by Isiah         (Photo by Isiah       (Photo by Isiah
      Holmes)                 Holmes)               Holmes)




  The march on the      The march on the         The march on the
 DNC in Milwaukee,     DNC in Milwaukee,        DNC in Milwaukee,
 August 20th, 2020.    August 20th, 2020.       August 20th, 2020.
   (Photo by Isiah       (Photo by Isiah          (Photo by Isiah
      Holmes)               Holmes)                  Holmes)




  The march on the Maria Hamilton, the The march on the
 DNC in Milwaukee, mother of Dontre DNC in Milwaukee,
 August 20th, 2020. Hamilton, was at the August 20th, 2020.
                     front line of the
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 10 of 24 Document 3-5
   (Photo by Isiah    march on the DNC.        (Photo by Isiah
      Holmes)         Dontre was killed in        Holmes)
                      Red Arrow Park by a
                      Milwaukee PD officer
                       in 2014. (Photo by
                          Isiah Holmes)




  The march on the     The march on the       The march on the
 DNC in Milwaukee,    DNC in Milwaukee,      DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.     August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah        (Photo by Isiah
      Holmes)              Holmes)                Holmes)




  The march on the     The march on the       The march on the
 DNC in Milwaukee,    DNC in Milwaukee,      DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.     August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah        (Photo by Isiah
      Holmes)              Holmes)                Holmes)




  The march on the     The march on the       The march on the
 DNC in Milwaukee,    DNC in Milwaukee,      DNC in Milwaukee,
Case 2:24-cv-00704-BHL Filed 06/05/24 Page 11 of 24 Document 3-5
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
  (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
     Holmes)              Holmes)              Holmes)




  The march on the     The march on the     The march on the
 DNC in Milwaukee,    DNC in Milwaukee,    DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
      Holmes)              Holmes)              Holmes)




  The march on the     The march on the     The march on the
 DNC in Milwaukee,    DNC in Milwaukee,    DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
      Holmes)              Holmes)              Holmes)




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  The march on the     The march on the     The march on the
 DNC in Milwaukee,    DNC in Milwaukee,    DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
      Holmes)              Holmes)              Holmes)




  The march on the     The march on the   Jay Sr., the father of
 DNC in Milwaukee,    DNC in Milwaukee, Jay Anderson Jr., and
 August 20th, 2020.   August 20th, 2020. his wife Linda were in
   (Photo by Isiah      (Photo by Isiah     the march on the
      Holmes)              Holmes)        DNC. Anderson was
                                           killed in 2016 by a
                                           Wauwatosa officer
                                           who’s killed three
                                          people in five years.
                                             Alvin Cole was
                                              another of the
                                          officfer’s shootings.
                                             (Photo by Isiah
                                                 Holmes)




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  The march on the     The march on the     The march on the
 DNC in Milwaukee,    DNC in Milwaukee,    DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
      Holmes)              Holmes)              Holmes)




  The march on the     The march on the     The march on the
 DNC in Milwaukee,    DNC in Milwaukee,    DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.   August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah      (Photo by Isiah
      Holmes)              Holmes)              Holmes)




  The march on the    The march on the     The march on the
 DNC in Milwaukee, DNC in Milwaukee, DNC in Milwaukee,
 August 20th, 2020. August 20th, 2020. August 20th, 2020.
   (Photo by Isiah  (Photo | Isiah Holmes)  (Photo by Isiah
      Holmes)                                  Holmes)




  The march on the     The march on the Jay Anderson Sr. (left)
 DNC in Milwaukee,    DNC in Milwaukee, and Linda Anderson
 August 20th, 2020.   August 20th, 2020. (right), the parents of
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   (Photo by Isiah      (Photo by Isiah       Jay Anderson Jr.
      Holmes)              Holmes)         (Photo | Isiah Holmes)




  The march on the     The march on the      The march on the
 DNC in Milwaukee,    DNC in Milwaukee,     DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.    August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah       (Photo by Isiah
      Holmes)              Holmes)               Holmes)




  The march on the     The march on the      The march on the
 DNC in Milwaukee,    DNC in Milwaukee,     DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.    August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah       (Photo by Isiah
      Holmes)              Holmes)               Holmes)




  The march on the     The march on the      The march on the
 DNC in Milwaukee,    DNC in Milwaukee,     DNC in Milwaukee,
 August 20th, 2020.   August 20th, 2020.    August 20th, 2020.
   (Photo by Isiah      (Photo by Isiah       (Photo by Isiah
      Holmes)              Holmes)               Holmes)

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  The march on the       The march on the       The march on the
 DNC in Milwaukee,      DNC in Milwaukee,      DNC in Milwaukee,
 August 20th, 2020.     August 20th, 2020.     August 20th, 2020.
   (Photo by Isiah        (Photo by Isiah        (Photo by Isiah
      Holmes)                Holmes)                Holmes)




  The march on the       The march on the
 DNC in Milwaukee,      DNC in Milwaukee,
 August 20th, 2020.     August 20th, 2020.
   (Photo by Isiah        (Photo by Isiah
      Holmes)                Holmes)

Chapman and others at the rally have been pushing for ways to
ensure there’s community control over the police and greater
accountability. Although Milwaukee has a civilian-led Fire and
Police Commission (FPC), controversy has attached to its members.
Minutes after the FPC demoted Chief Morales, its own chairman,
Steven DeVougas, stepped down due to ongoing and unrelated
conflict of interest investigations.

A wide coalition of causes
The March on the DNC brought together numerous activist groups
with different causes. Many of them held actions throughout the
week. The climate change organization Extinction Rebellion
chalked messages and slogans on the police barricades and
harangued Secret Service agents through megaphones. .

Natasha Winkler, one of the Extinction Rebellion activists, called
America’s climate policy “criminal inaction.”
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“The time is too late, we need drastic action now. And I have yet to
hear of any candidate who’s willing to take drastic action,” she said.
Winkler, who is almost 40 and has three children, said the future
for generations weighs heavily on her mind. “The future of this
planet is really important for me, leaving this for future generations.
And our inaction has already brought us to a tipping point,” she
said.




  Natasha Winkler, Extinction Rebellion A upside down flag
 Extinction Rebellion stands outside the Extinction Rebellion
   (Photo by Isiah    DNC security gates made. (Photo by Isiah
       Holmes)       and speaks to officers    Holmes)
                       and Secret Service
                         agents using a
                      loudspeaker. They’d
                       prepared a speech.
                        (Photo by Isiah
                            Holmes)




 A upside down flag       Members of      Extinction Rebellion
Extinction Rebellion Extinction Rebellion placed fliers all over
made. (Photo by Isiah strike some poses.   town, from the east
      Holmes)           (Photo by Isiah   side of Milwaukee to
                           Holmes)        the DNC grounds in
                                           the downtown area.
                                             (Photo by Isiah
                                                 Holmes)


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Groups of protesters, Groups of protesters, Groups of protesters,
  from Extinction       from Extinction        from Extinction
Rebellion to anti-war Rebellion to anti-war Rebellion to anti-war
  groups, join one      groups, join one       groups, join one
 another in a small    another in a small     another in a small
 demonstration at      demonstration at       demonstration at
 outside the gates.    outside the gates.     outside the gates.
   (Photo by Isiah       (Photo by Isiah    They had a variety of
      Holmes)               Holmes)         signs. (Photo by Isiah
                                                    Holmes)




Groups of protesters, Groups of protesters, Groups of protesters,
   from Extinction         from Extinction       from Extinction
Rebellion to anti-war Rebellion to anti-war Rebellion to anti-war
   groups, join one        groups, join one      groups, join one
  another in a small      another in a small    another in a small
  demonstration at        demonstration at      demonstration at
  outside the gates.     outside the gates of   outside the gates.
They had a variety of      the Democratic      They had a variety of
signs. (Photo by Isiah National Convention signs. (Photo by Isiah
        Holmes)         (DNC) of 2020. They          Holmes)
                       had a variety of signs.
                       (Photo | Isiah Holmes)




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Groups of protesters, Groups of protesters, Groups of protesters,
   from Extinction        from Extinction        from Extinction
Rebellion to anti-war Rebellion to anti-war Rebellion to anti-war
   groups, join one       groups, join one       groups, join one
  another in a small     another in a small     another in a small
  demonstration at       demonstration at       demonstration at
  outside the gates.     outside the gates.     outside the gates.
They had a variety of They had a variety of They had a variety of
signs. (Photo by Isiah signs. (Photo by Isiah signs. (Photo by Isiah
        Holmes)                Holmes)                Holmes)




Groups of protesters, Groups of protesters, Groups of protesters,
   from Extinction        from Extinction        from Extinction
Rebellion to anti-war Rebellion to anti-war Rebellion to anti-war
   groups, join one       groups, join one       groups, join one
  another in a small     another in a small     another in a small
  demonstration at       demonstration at       demonstration at
  outside the gates.     outside the gates.     outside the gates.
They had a variety of They had a variety of They had a variety of
signs. (Photo by Isiah signs. (Photo by Isiah signs. (Photo by Isiah
        Holmes)                Holmes)                Holmes)




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                      Groups of protesters, Various groups placed
                         from Extinction      posters, fliers, and
                      Rebellion to anti-war propaganda around
                         groups, join one    the city. (Photo by
                        another in a small      Isiah Holmes)
                        demonstration at
                        outside the gates.
                      They had a variety of
                      signs. (Photo by Isiah
                              Holmes)




Various groups placed Protesters gather and Protesters gather
  posters, fliers, and honor the Black Sting outside the DNC
 propaganda around Triage Ensemble as during the third night
  the city. (Photo by they prepare to play. of the convention.
    Isiah Holmes)         (Photo by Isiah     (Photo by Isiah
                             Holmes)             Holmes)




  Protesters gather     Fliers from various Fliers from various
  outside the DNC      groups were hung all groups were hung all
during the third night
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  of the convention.    over the city. (Photo   over the city. (Photo
   (Photo by Isiah       by Isiah Holmes)        by Isiah Holmes)
       Holmes)




  Fliers from various Fliers from various       Members of
 groups were hung all groups were hung all Extinction Rebellion
 over the city. (Photo over the city. (Photo strike some poses.
   by Isiah Holmes)     by Isiah Holmes) (Photo | Isiah Holmes)

Fellow Extinction Rebellion activist Myra Jansky, 22, told Wisconsin
Examiner during the third night of the DNC that the climate crisis
has compelled her to not have children. “I had a dream that I had a
baby one time, and I felt more love than I’ve felt in my whole life,
but I just won’t let it happen. Because the world they’d be born into
would be absolutely disastrous.” The United Nations and other
international organizations have warned that humanity has less
than 12 years to mitigate climate change or face catastrophic
consequences.

During the night and daytime hours, different groups peppered the
DNC with their own flavors of organizing. The Black Strings Triage
Ensemble, known for playing in the wake of instances of police
violence, set up in the street. Another social justice group, Break the
Silence in the Burbs, marched to the DNC a day before August 20.
The group focuses on raising awareness of social justice issues in
suburban communities.

On August 20, shortly before the large march began, groups
gradually filled the streets around the DNC. Activists rallied and
protested mass incarceration in Milwaukee, and the treatment of
people within the Milwaukee Secure Detention Facility (MSDF).
The state-ran facility has become a symbol of the ills of mass
incarceration. The immigrant-rights group Voces de la Frontera also
joined the rally and march.

Voces executive director Christine Neumann-Ortiz spoke in front
of a Department of Homeland Security building in Milwaukee.
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“It was disappointing that Biden and Harris didn’t come to the
DNC, at least them. And here you have Trump chitting up his racist
base all over the state,” she said “And what really lifted my heart was
the march, and all of you.” Whereas the Democratic candidates
opted for virtual presentations, Trump, Vice President Mike Pence,
and the president’s son Eric Trump, all made in-person visits to
Wisconsin during the convention week.


            The March on the DNC




“What this march represented to me is hope,” said Neumann-Ortiz.
“Hope because it’s the movement. It’s the movement that’s going to
defeat fascism in the November elections. And it’s the movement
that is going to hold a new administration accountable for the
changes that we need.” Neumann-Ortiz declared August 20 a day of
celebration for all social justice movements across the state. “We
should celebrate it,” she said, standing before the DHS building.
“Because we are at a historic movement in the fight against racism.”




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                          ISIAH HOLMES  
                          Isiah Holmes is a journalist and videographer, and a lifelong resident of
                          Milwaukee, Wisconsin. His writing has been featured in Urban Milwaukee,
                          Isthmus, Milwaukee Stories, Milwaukee Neighborhood News Services,
                          Pontiac Tribune, the Progressive Magazine, Al Jazeera, and other outlets.

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                          state-focused nonprofit news organization.


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      D I G G I N G U P T H E T R U T H I N T H E BA D G E R S TAT E



    DEMOCRACY TOOLKIT                                                                        


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